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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION
PATRICIA FRY, CASE NO.
Plaintiff,
v,
FIVE BELOW, INC., AND
JOHN DOE,
Defendants. /

 

NOTICE OF REMOVAL OF CAUSE

The Defendant, FIVE BELOW, INC. (hereinafter referred to as the “Defendant”), by and
through the undersigned counsel, hereby files this Notice of Removal of Cause pursuant to 28
U.S.C. § 1441, et seg., and 28 U.S.C. § 1332, and in compliance with Local Rule 4.02 of the
United States District Court for the Middle District of Florida. This cause was originally filed in
the Ninth Judicial Circuit in and for Orange County, Florida, and as grounds in support of this
Notice of Removal of Cause, the Defendant states as follows:

1. This matter is currently pending in the Ninth Judicial Circuit in and for Orange
County, Florida, bearing civil case number 2020-CA-009617-0, and styled Patricia Fry v. Five
Below, Inc., and John Doe’.

2. This action arises out of alleged injuries sustained by the Plaintiff, Patricia Fry
(the “Plaintiff’), on or about August 14, 2019.

3. Pursuant to 28 U.S.C. § 1446(d), and Local Rule 4.02(b) of the United States

District Court for the Middle District of Florida, copies of all process, pleadings, orders, and

 

! John Doe was dropped by Notice of Dropping Party filed by the Plaintiff on October 1, 2020.
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other papers or exhibits of every find in the State Court file are attached hereto as composite
Exhibit A.

4, This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a)(1).

>. According to the Plaintiff's Complaint, the Plaintiff is a resident of Orange
County, Florida.

6. The Defendant, Five Below, Inc., is a Foreign Corporation authorized to transact
business in Florida. The Defendant is incorporated in the State of Pennsylvania with its principal
place of business located at 701 Market Street, Suite 300, Philadelphia, PA 19106.

7. Accordingly, the Defendant is deemed to be a citizen of the State of Pennsylvania
under 28 U.S.C. § 1332(c)(1), because it is a corporation organized under the laws of the State of
Pennsylvania, and has its principal place of business in the State of Pennsylvania.

8. Therefore, at all times material to this action, there was completed diversity of the
Parties, as the Plaintiff is a citizen of the State of Florida, while the Defendant is a citizen of the
State of Pennsylvania.

9, The Defendant avers that the amount in controversy in this matter exceeds the
sum of Seventy-Five Thousand Dollars ($75,000), exclusive of costs, interest and attorney’s fees,
the jurisdictional threshold for this Court as set forth in 28 U.S.C. § 1332.

10. The Defendant denies that the Plaintiff is entitled to the relief sought in her
Complaint, however, if there is a judgment in favor of the Plaintiff against the Defendant in this
matter, the amount in controversy in this case would exceed the Federal Court’s Seventy-Five
Thousand Dollars ($75,000) jurisdictional threshold.

11. This Notice of Removal of Cause is timely filed pursuant to 28 U.S.C. § 1446(b),

as it is filed within thirty (30) days of the Defendant being served on October 14, 2020.
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12. Venue rests with the Orlando Division of the United States District Court for the
Middle District of Florida, as the State Court action being removed originated in the Ninth
Judicial Circuit in and for Orange County, Florida.

13. The Defendant will file with the Circuit Court in and for Orange County, Florida,
a true and correct copy of this Notice of Removal of Cause, and will serve a copy on counsel for
the Plaintiff, as is required by 28 U.S.C. § 1446(d).

14. The undersigned attorney is fully licensed in the State of Florida, and is
authorized to practice in the United States District Court for the Middle District of Florida.

15. The undersigned attorney has been authorized by the Defendant to file this Notice

of Removal of Cause.

Dated: November 13, 2020
Respectfully submitted,

/s/Michael D. Logan
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